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GUTRIDE SAFIER LLP
Seth A. Safier (State Bar No. 197427)
  seth@gutridesafier.com
Marie A. McCrary (State Bar No. 262670)
  marie@gutridesafier.com
Hayley A. Reynolds (State Bar No. 306427)
  hayley@gutridesafier.com
100 Pine Street, Suite 1250
San Francisco, CA 94111
Telephone: (415) 639-9090
Facsimile: (415) 449-6469

Attorneys for Plaintiffs

                             UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA

TRACY HOWARD, ERI NOGUCHI, and                  Case No.: 3:22-cv-04779-VC
SCOTT DIAS, on behalf of themselves, the
general public, and those similarly situated,   PLAINTIFFS’ OPPOSITION TO
                                                DEFENDANT’S MOTION TO DISMISS
                              Plaintiffs,
                                                Hearing Date:         December 12, 2024
       v.                                       Hearing Time:         10:00 a.m.
                                                Courtroom:            4
GERBER PRODUCTS COMPANY,                        Judge:                Hon. Vince Chhabria

                              Defendant.




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I.     INTRODUCTION

       Defendant Gerber Products Company’s (“Defendant” or “Gerber”) motion to dismiss the

Second Amended Complaint (“SAC”) is nothing more than a weak attempt to revive arguments

that have been rejected by both the Ninth Circuit in Davidson v. Sprout, 106 F.4th 842 (9th Cir.

2024) and this Court in its prior Order on Gerber’s Motion to Dismiss (ECF 25). Rather than

applying the Ninth Circuit’s clear holding, Gerber throws out every stale argument it can muster.

Indeed, it even goes so far as to ignore Sprout’s main holding regarding implied preemption

under Buckman v. Plaintiffs’ Legal Committee, 531 U.S. 341 (2001). At bottom, Gerber’s only

distinct argument is that the SAC does not plausibly allege why the unlawfully labeled Products

are harmful for children under two years old. But the SAC meticulously lays out the harms

associated with each of Gerber’s Products for children under the age of two. This is clearly

sufficient under the pleading standard.

       Plaintiffs filed a SAC in the wake of Sprout. In Sprout, the Ninth Circuit addressed nearly

identical claims to those at issue here and held that the plaintiffs plausibly alleged that consumers

could interpret the labels to mean that the products are healthy, but that the complaint failed to

plausibly allege the products were harmful. Thus, on amendment, Plaintiffs here have added

detailed allegations explaining the harms of the Products. The only issue up for debate after

Sprout is whether Plaintiffs’ new allegations are sufficient to allege that the Products are harmful

such that consumers are deceived by the labels.

       The SAC enhances the allegations of harm caused by Gerber’s Products by including

detailed allegations as to the levels of sugar, the levels of sodium, and the pouch format of the

Products. The WHO recommends that products with a sugar density of greater than 30% should

carry a warning label, and the SAC outlines each Product that exceeds that level including the

Wonderfoods Pouches, the Veggie Power pouches, the Plantastic Pouches, and the Grow Strong

pouches. SAC ¶¶ 57–65; see id., Ex. A (product chart with sugar density and sodium for each

product). The SAC also adds factual allegations regarding the harmful levels of sodium in the

Lil’ Crunchies, Mealtime Products, and Lil’ Sticks Products. SAC ¶¶ 74–82. And finally, the

SAC expands on the reasons why the pouch format is harmful for children under two, including
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the reasons the WHO recommends pouches not be offered for children over 12 months. SAC ¶¶

62–69. Thus, the SAC easily meets the Sprout standard.

         Rather than apply Sprout, Gerber takes a kitchen sink approach, but nothing ultimately

justifies deviating from this Court’s prior holding that “the labels communicate a message that

the products are healthy for children, and that the products are actually harmful.” ECF 25 at 4.

Shockingly, while invoking Sprout, Gerber ignores its main holding: that Buckman does not

impliedly preempt Plaintiffs’ unlawful claims. Gerber wholly ignores this conclusion and asks

this Court to disagree with the Ninth Circuit and find Plaintiffs’ claims preempted. ECF 72 at 10.

         This Court has already rejected the remainder of Gerber’s arguments which do not

warrant reconsideration after Sprout. Plaintiffs may plead legal and equitable claims in the

alternative at this stage. See ECF 25 at 1–2. Gerber’s implied nutrient content claims are

unlawful. Id. at 2–4. Plaintiffs have standing to assert claims for substantially similar products.

Id. at 1–2. And Plaintiffs’ unlawful claims and unjust enrichment claim may proceed. Id. at 6.

Based on the foregoing, the Court should fully deny the motion to dismiss.

II.      ARGUMENT

         Plaintiffs’ fraud claims are governed by the “reasonable consumer” test and Plaintiffs

need only allege that it is plausible “that members of the public are likely to be deceived.”

Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016) (citations omitted).1 The FAL, CLRA,

and UCL “prohibit not only false advertising, but also advertising that is ‘either actually

misleading or which has a capacity, likelihood or tendency to deceive or confuse the public.’”

Whiteside v. Kimberly Clark Corp., 108 F.4th 771, 777 (9th Cir. Jul. 17, 2024) (quoting Kasky

v. Nike, Inc., 27 Cal. 4th 939, 951 (2002)). “California courts . . . have recognized that whether a

business practice is deceptive will usually be a question of fact not appropriate for decision [at

the pleadings stage].” Id. (quoting Williams v. Gerber Prods. Co., 552 F. 3d 934, 938-39 (9th

Cir. 2008)). “Dismissal is appropriate when ‘the advertisement itself [makes] it impossible for

the plaintiff to prove that a reasonable consumer [is] likely to be deceived.’” Id. (quoting

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 Plaintiffs’ UCL unlawfulness claims are not governed by the reasonable consumer standard.
Bruton v. Gerber Prods. Co., No. 15-15174, 2017 U.S. App. LEXIS 12833, at *5–6 (9th Cir.
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Williams, 552 F. 3d at 938–39. But the Ninth Circuit has repeatedly cautioned that dismissal at

the pleading stage is “rare.” Id. Just like in Whiteside and Williams, this is not a “rare” case

where it is appropriate to determine deception as a matter of law.

       Sprout unequivocally announced that UCL unlawfulness claims based on violations of

the Sherman law food labeling regulations are not impliedly preempted under Buckman. Sprout,

106 F.4th at 852 (holding “the FDCA does not impliedly preempt private enforcement of the

Sherman Law.”). For the fraud claims, the Ninth Circuit did not announce any new standards of

law, instead, it merely affirmed the district court’s conclusion that the complaint failed to

sufficiently state a fraud claim. See id. (citing Davidson v. Kimberly-Clark Corp., 889 F.3d 956,

964 (9th Cir. 2018)). The Ninth Circuit did not disturb the district court’s holding that the

“plaintiffs had sufficiently alleged what the misstatement was, i.e., that the nutrient content

claims imply that the products provide health benefits for babies.” Id. at 853. It instead

explained that the complaint failed to allege with sufficient particularity that the products at

issue were harmful, holding that the allegations were “largely unspecific to Sprout’s products”

and that plaintiffs’ one allegation related to “high amounts of free sugars” did not explain “at

what level sugars become harmful or why the levels of sugar in these products, in particular,

could cause harm.” Id. Without those allegations, plaintiff’s fraud-based claims failed. Id.

       However, Sprout affirmed much of this Court’s prior Order, including its holdings on

the unlawfulness claims and unjust enrichment. Id. at 846 (holding that claims such as “3g of

Protein, 5g of Fiber and 300mg Omega-3 from Chia ALA” are the “claims on the labels of the

Sprout pouches [which] appear to be what the FDA regulation and, by extension, the Sherman

Law prohibit.”); id. at 850 (“We therefore hold that the FDCA does not impliedly preempt

plaintiffs’ Sherman Law claims.”); id. at 853 (“The district court dismissed the unjust

enrichment claim because, after dismissing all other claims, there was no underlying basis for

recovery. In light of our reversal on the Sherman Law claim, an additional claim survives. We

thus reverse the district court’s dismissal of the unjust enrichment claim.”). Sprout’s remand of

the unlawfulness claims also necessarily affirms the Court’s prior holding for standing.


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        A.      Plaintiffs Adequately Plead Their Fraud Claims.

        To satisfy Rule 9(b), a complaint must allege the “who, what, when, where, and how” of

the misrepresentations. Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097, 1106 (9th Cir. 2003).

The SAC satisfies this test. Plaintiffs allege that Gerber (who) misrepresented the healthiness of

the Products (what) through unlawful and deceptive labels on the Products’ front labels (where)

to consumers at the time of purchase (when) because the Products are harmful for children

under two (how). See SAC ¶¶ 34–82; see also Won Kyung Hwang v. Ohso Clean, Inc., 2013

U.S. Dist. LEXIS 54002, *61 (N.D. Cal. April 16, 2013) (plaintiff satisfied Rule 9(b) “by

identifying specific products and statements at issue, as well as when and where she purchased

one of Defendants’ products.”).

        Gerber focuses on the “how” of Plaintiffs fraud claims. But Plaintiffs plausibly allege

that Gerber seeks to “take advantage of parents’ and caregivers’ desires to give infants and

young children nutritious food with the advertised vitamins, minerals, and macronutrients,

leading them to believe the products are healthy, children need more of the advertised

nutritional content, and distracting consumers from the undesirable nutritional qualities of the

Products.” SAC ¶ 82. “The Products are actually harmful for children under two both

nutritionally and developmentally because of the sugar content, the pouch format, and the

sodium content of the foods.” Id.

        After Sprout, Plaintiffs amended their complaint to add detailed factual allegations

regarding the harmful amounts of sugar and/or salt in the Products. In Sprout, the Ninth Circuit

affirmed the district court’s dismissal on the ground that the plaintiffs failed to allege fraud with

particularity regarding nutrient content claims. 106 F.4th at 853. The Court first noted that the

district court correctly found that the plaintiffs pled the “what” of their fraud claims, “i.e., that

the nutrient content claims imply that the products provide health benefits for babies.” Id.

However, the court found that the plaintiffs “failed to sufficiently allege why this implied

message was false, i.e., that the products were in fact harmful.” Id. The court noted that

plaintiffs relied on only “two sets of allegations” for their fraud claims. Id. The first allegation

was that the “that Sprout’s products contain high amounts of sugar and that sugars in pureed,
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pouch-based foods can lead to health issues such as tooth decay.” Id. The second allegation was

that “the complaint cites to several articles and reports suggesting that pouch-based foods may

lead to long-term health risks and hinder babies’ development.” Id. The court held these two

allegations were “largely unspecific to [the defendant’s] products.” Id. The court stated that the

plaintiffs’ allegations regarding amounts of free sugars was more specific to the defendant but it

lacked context. Id. (“The exception is their allegation that the products ‘contain high amounts of

free sugars’ accompanied by a list of the grams of sugar in some of the products. But as the

district court rightly noted, this allegation lacks context. Plaintiffs do not explain at what level

sugars become harmful or why the levels of sugar in these products, in particular, could cause

harm.”). Because the district court correctly noted these deficiencies and plaintiffs chose to

stand on their complaint for appeal, the court affirmed that the plaintiffs failed to allege fraud

with particularity. Id.

        The SAC now contains additional detailed factual allegations specific to Gerber’s

products that satisfy Sprout. Gerber’s argument that Plaintiffs “still fail to allege ‘at what level

sugars become harmful or why the levels of sugar in these products, in particular, could cause

harm” raises questions as to what complaint Gerber is reading. ECF 72 at 4–5 (emphasis in

original). The SAC contains additional factual allegations from child nutrition experts, including

the World Health Organization (“WHO”), regarding the levels at which sugar and sodium are

harmful. Id. ¶¶ 48–60; id. ¶¶ 74–78. For example, regarding total sugar, the SAC explains that

according to the WHO, products with “more than 30% of the energy from sugar” should “carry a

front-of-pack warning label to help consumers make healthier choices.” SAC ¶ 59. The SAC

then gives the formula for calculating what percent of the energy (i.e., calories) in a product

come from sugar: (total sugar grams per specified product weight  kcal per specified product

weight) x 400. Id. Using this formula, the SAC includes calculations for the percent energy from

sugar for each of Gerber’s pouch Products to support the fact that “[e]very single pouch Product

has a sugar density about 30%, which is the level at which the WHO recommends a front-of-

pack ‘indicator label’ for products intended for infants and toddlers because of the health risks

associated with that level of sugar.” Id. ¶ 60; see also id. (Wonderfoods pouches contain 50–89%
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energy from sugar); id. ¶ 61 (Veggie Power pouches contain 47–67% energy from sugar); id. ¶

62 (Plant-tastic pouches contain 34–46% energy from sugar); id. ¶ 64 (Grow Strong pouches

contain 40–50% energy from sugar). The SAC describes these risks in detail, including the fact

that the “high sugar profile will encourage a preference for sweeter foods that contribute to

noncommunicable diseases and obesity, contribute to dental decay, cause spikes in blood sugar,

and can lead to picky eating.” See, e.g., id.; see also id. ¶¶ 50–65. The SAC contains detailed

allegations about why each specific pouch product is harmful for children under two, including

why the nutrient content claims are misleading in the context of each pouch label. ECF 71-1

(product chart with sugar density); see also SAC ¶ 60 (Wonderfood pouches); id. ¶ 61 (Veggie

Power pouches); id. ¶¶ 62–63 (Plant-tastic pouches); id. ¶ 64 (Grow Strong pouches); id. ¶¶ 66–

73 (pouch format harm).

       The SAC also addresses the harmful levels of added sugar. USDA guidance recommends

children under two completely “avoid foods and beverages with added sugars.” Id. ¶ 65. This is

because children need to receive “the most nutrient dense foods available in the household” (id. ¶

45) and sugar “skews the energy density of low nutrient foods” (id. ¶ 59). This means that foods

with lower nutrient levels are providing higher levels of energy, meaning the child will not

consume nutrient dense foods to fulfill their energy needs. The SAC then identifies each Product

that has added sugars. Id. ¶ 65 (“[T]he Spaghetti Rings in Meat Sauce have 3 grams added sugar,

the Fruit & Yogurt Strawberry Banana pouch has 5 grams added sugar, and the Grain & Grow

bars have 4 grams of added sugar.”). This is clearly sufficient to withstand a motion to dismiss

under Sprout. 106 F.4th at 853 (identifying the need for “what level sugars become harmful or

why the levels of sugar in these products, in particular, could cause harm.”).

       The SAC also contains specific allegations as to the harmful sodium levels found in the

Products. ECF 71-1 (product chart with sodium levels); SAC ¶ 79 (Mealtime products); id. ¶ 80

(Lil’ Sticks products); id. ¶ 81 (Lil’ Crunchies products). For example, the Lil’ Sticks are

“glorified hotdogs” that “are highly processed salty food[]” claiming “9g protein per serving” to

distract consumers from the fact that the “chicken sticks [contain] 268mg sodium per 100g and

the turkey sticks [contain] 296mg sodium per 100g.” Id. ¶ 80. The Lil’ Crunchies also range
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from, “71mg sodium per 100g to 500mg sodium per 100g.” Id. ¶ 81. “These Products claim to be

for children 8+ months, and include claims that the Products include ‘2g of whole grains,’

advertise that the Products are ‘made with whole grain sorghum just for your little one,’ and are

‘perfectly sized pieces, easy to pick up, and help develop baby’s pincer grasp for self-feeding.’

As recognized by the WHO, these types of claims ‘give the impression of being optimum foods’

and ‘imply superiority over other foods’ which makes it ‘challenging to identify healthy products

from the many on the market.’” Id. ¶ 81. “But the Products exceed the recommended sodium

limits by a factor of 100, which will harm infants’ kidneys and cause infants to develop a taste

profile that negatively impacts current and future health.” Id. “Thus, consumers will be misled to

believe that because of the whole grain content and intention of being fed to infants, the Products

will be healthy for children under two.” Id. Collectively, these allegations address why the

“products were in fact harmful.” Sprout, 106 F.4th at 853. As such, the Court should deny the

motion to dismiss because the SAC includes detailed allegations regarding how the nutrient

content claims mislead consumers into believing the Products are healthy, but the Products are

actually harmful due to their high sodium content.

       Gerber claims that Plaintiffs rely on generalized allegations which require “many

inferential leaps.” ECF 72 at 4. In its argument, Gerber addresses only one alleged harm that will

result from the consumption of its sugary Products: the development of a preference for sweet

foods. Id. Gerber ignores that Plaintiffs have identified several health risks associated with

excess sugar consumption for children under two, including obesity, dental decay, and blood

sugar issues. See SAC ¶¶ 47–65. Moreover, the law does not require that a single consumption of

the Product be harmful for the claims to be misleading, and the pleading stage is not the

appropriate time to weigh evidence on the harm versus benefits of the Products. Jones v.

Johnson, 781 F.2d 769, 722 n.1 (9th Cir. 1986) (“Any weighing of evidence is inappropriate on a

12(b)(6) motion.”). Eating one candy bar may not cause diabetes, but that doesn’t mean a

company could label it as healthy.

       For example, in Krommenhock v. Post Foods, LLC, the court denied a motion to dismiss

where the “crux” of the claim was that the defendant’s “use of prominent marketing terms
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expressly or implicitly advertising the products as healthy were misleading because the amount

of sugar in the product made those claims false.” 255 F. Supp. 3d 938, 964–65 (N.D. Cal. 2017).

The plaintiffs there challenged claims that included use of the terms “grain,” “fiber,” and “real”

(e.g., “real bananas”), and argued that the amount of added sugar in the products rendered the

products unhealthy “such that their regular consumption is likely to contribute to excess added

sugar consumption and, thereby, increased risk for and contraction of chronic disease.” Id. at

946. As evident from the allegations, it was not just one serving of the products that resulted in

harm, but the contribution to an unhealthy diet that rendered the claims misleading. Id.

Krommenhock rejected the same arguments Gerber makes here, concluding “this is not the

appropriate time to weigh the competing harms and benefits from [Defendant’s] products . . . It

is sufficient that plaintiffs have a plausible scientific basis for their consumer protection claims.”

Id. at 963; see Krommenhock v. Post Foods, LLC, No. 16-cv-04958-WHO, 2018 U.S. Dist.

LEXIS 42938, at *11 (N.D. Cal. Mar. 15, 2018) (“Because plaintiffs have cited significant

evidence linking consumption of excessive sugar to significant health problems, they survive the

motion to dismiss.”); Hadley v. Kellogg Sales Co., 273 F. Supp. 3d 1052, 1066 (N.D. Cal. 2017)

(“Here, as discussed above, Plaintiff provides scientific studies that link added sugar to

cardiovascular disease, metabolic syndrome, and diabetes.”). Put simply, just because more harm

will come in the future from frequent consumption of Gerber’s products does not negate the

current informational injury and economic injury (paying more for a product they think is

healthy) putative class members are suffering because of Gerber’s unlawful labeling practices.

As such, Plaintiffs have suffered more than a bare “procedural violation.” ECF 72 at 7.

         Gerber next argues that the excess sodium claim for the Products fail because “Plaintiffs

do not, and cannot, identify a comparable FDA or USDA limit.” ECF 72 at 4. But Plaintiffs are

under no obligation to identify a comparable FDA or USDA limit for purposes of their fraud

claims.2 Plaintiffs need only plausibly allege the claims mislead reasonable consumers into

2
  Even so, Plaintiffs have identified the Dietary Guidelines for Americans which recommends
limiting sodium intake given the increased risk of cardiovascular diseases and hypertension,
among other things. SAC ¶¶ 74–75. The fact that the USDA has daily limits for sodium does not
prove that it does not recommend limiting on a per-food basis.
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believing the Products are healthy when in fact they are not because, among other issues

identified in the SAC, they contain excess levels of sodium for children under two years of age.

Plaintiffs have done so. SAC ¶¶ 74–82; see ECF 71-1 (product list). The WHO is a global leader

in developing health standards and any disagreements Gerber may have with the conclusions of

the WHO is a factual issue not appropriate for resolution at the motion to dismiss stage.

         Gerber next analyzes the “pouch theory” in isolation. ECF 72 at 5. As explained above,

the pouch format is only one reason the Products are unhealthy and not recommended for

children under two. Even so, Plaintiffs have added allegations in the SAC that further expound

on the fact that pouches are harmful for children under two, including that the WHO cautions

against pouches because “sucking from a pouch does not encourage the learning of, and use of,

chewing skills; children cannot distinguish what it is they are eating, and cannot see or smell the

food easily; children who are given smooth foods in pouches for longer periods may become

fussier eaters; children develop fine motor skills when picking up food or playing with it; pureed

fruit and vegetables in pouches are high in free sugars, and sucking these foods across the teeth

may contribute to tooth decay; there is no portion control if food is eaten directly from the

pouch; and there may be considerable food waste.” SAC ¶ 70; see also SAC ¶¶ 66–73. Plaintiffs

have included detailed factual allegations from which the Court can conclude that the pouch

Products mislead consumers into believing the Products are healthy when, in fact, they are

harmful.3
      B.        This Court and the Ninth Circuit in Sprout Require Rejecting Gerber’s
                Remaining Arguments
         The Ninth Circuit’s decision in Sprout merits only a narrow reconsideration of this

Court’s prior Order. Sprout did not announce a new standard, and in fact, reaffirmed most of this

Court’s prior holding. 106 F.4th at 844 (“The panel affirmed the district court’s dismissal of

plaintiffs’ fraud-based claims, and reversed the district court’s dismissal of plaintiffs’ California



3
 Gerber claims that “[c]ontrolling law precludes Plaintiffs’ new theory that Gerber misstated the
protein content of ‘Plant-tastic’ products.” ECF 72 at 5. But Plaintiffs assert no new claims and
have not pled an independent cause of action based on 21 C.F.R. § 101.9. SAC ¶¶ 118–164.
Plaintiffs merely assert this fact to show the misleading nature of Gerber’s product labels.
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Sherman Law claim and unjust enrichment claim, in a putative class action challenging the labels

on Sprout Foods, Inc.’s baby food pouches.”).
                    i. Gerber ignores the primary holding in Sprout and again argues that
                       Buckman impliedly preempts Plaintiffs claims.

       Gerber ignores the Ninth Circuit’s main holding in Sprout and recycles its prior

arguments that Buckman impliedly preempts Plaintiffs’ claims. ECF 72 at 10. But this Court

need not engage with such gamesmanship because Sprout settled this question. After extensive

analysis of Supreme Court and Ninth Circuit precedent, Sprout holds that “the FDCA does not

impliedly preempt plaintiffs’ Sherman Law claims. Because the Sherman Law incorporates

federal standards, the state requirements at issue are identical to their federal counterparts, and

thus permitted by § 343-1 (NLEA § 403A). Plaintiffs’ claim is that [the defendant] violated these

parallel state requirements. Because the FDCA places no limitations on enforcement of these

state parallels, plaintiffs’ Sherman Law claim is not preempted.” 106 F.4th at 850.
                   ii. Plaintiffs May Plead Legal and Equitable Claims at This Stage.
       Again, despite this Court’s previous rejection of Gerber’s arguments under Sonner,

Gerber again argues that “Plaintiffs cannot seek restitution or injunctive relief because they have

an adequate remedy at law.” ECF 72 at 8; see ECF 25 at 1 (citing Elgindy v. AGA Service Co.,

No. 20-CV-06304-JST, 2021 WL 1176535, at *15 (N.D. Cal. 2021)). Time and again this Court

has rejected the notion that “Sonner prevents parties from pleading claims for legal and equitable

relief in the alternative.” Cepelak v. HP Inc., No. 20-cv-02450-VC, 2021 U.S. Dist. LEXIS

221360, at *5–6 (N.D. Cal. Nov. 15, 2021) (J. Chhabria); see, e.g, Day v. Advanced Micro

Devices, Inc., No. 22-cv-04305-VC, 2023 U.S. Dist. LEXIS 35147, at *2 (N.D. Cal. Mar. 2,

2023) (J. Chhabria); Amans v. Tesla, Inc., No. 21-cv-03577-VC, 2022 U.S. Dist. LEXIS 133028,

at *4 (N.D. Cal. July 26, 2022) (J. Chhabria). The SAC makes clear that these claims are

proceeding in the alternative. SAC ¶¶ 134 (FAL), 157 (UCL).

       Here, Plaintiffs allege that damages are inadequate for Gerber’s continued misconduct

because Plaintiffs’ legal claims are more difficult to prove and, thus, may ultimately provide no

remedy. See SAC ¶¶ 134, 157. There is also no remedy at law at all for Plaintiffs’ unlawfulness

claims. See In re Juul Labs, Inc., Mktg., Sales Pract., & Prods. Liab. Litig., 2020 U.S. Dist.
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LEXIS 197766, at *225–27 (N.D. Cal. Oct. 23, 2020) (noting that “the allegations regarding

unfair conduct are not otherwise coextensive with plaintiffs’ legal claims”). As such, Plaintiffs

have adequately explained why their legal remedies are inadequate at this stage. For this reason,

Gerber’s reliance on Hanscom v. Reynolds Consumer Prods. LLC is misplaced. No. 21-cv-

03434-JSW, 2022 U.S. Dist. LEXIS 34057, at *5 (N.D. Cal. Jan. 21, 2022). In Hanscom, the

court rejected the plaintiffs attempt to plead an alternative unfair and unlawful substantiation

theory because “[i]ndividuals may not bring suit under the UCL or the CLRA alleging only that

advertising claims lack substantiation” and the plaintiff did not “plead facts establishing that the

legal remedies under the CLRA and for her common law claims are ‘inadequate or incomplete.’”

Id. at 5–8. Here, Plaintiffs have sufficiently alleged claims in the alternative.

       Gerber next argues “Plaintiffs also are not entitled to injunctive relief, because they do

not plausibly allege ‘an actionable certainly impending injury.’” ECF 72 at 8. Gerber claims “no

Plaintiff alleges he or she still buys Products for children under two,” “allegations that they

‘would likely’ purchase Gerber Products in the future . . . allege only a ‘possible future injury,’

not an ‘actionable certainly impending injury.’” Id.

       However, “[i]n the context of false advertising cases, the Ninth Circuit has explained

that a plaintiff may establish the risk of future harm in two ways: (1) the consumer’s plausible

allegations that they will be unable to rely on the product’s advertising or labeling in the future,

and so will not purchase the product although they would like to; or (2) the consumer’s

plausible allegations that they might purchase the product in the future, despite the fact it was

once marred by false labeling because they may reasonably, but incorrectly, assume the product

was improved.” Brown v. Natures Path Foods, Inc., No. 21-cv-05132-HSG, 2022 U.S. Dist.

LEXIS 42760, at *11–12 (N.D. Cal. Mar. 10, 2022) (citing Davidson v. Kimberly-Clark Corp.,

889 F.3d 956, 969–70 (9th Cir. 2018)).

       Here, Plaintiffs allege that they continue to desire to purchase the Products, would likely

purchase the Products again if the Products did not contain unlawful, deceptive, and misleading

labels, and that they regularly visit stores where the Products are sold. SAC ¶¶ 97, 103, 109.

These allegations are sufficient to confer standing to Plaintiffs. See Kimberly-Clark Corp., 889
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F.3d at 966–72 (plaintiff properly alleged a “threat of imminent or actual harm by not being able

to rely on [the] labels in the future” that is “sufficient to confer standing to seek injunctive

relief”); see also In re S.C. Johnson & Son, Inc., 2021 U.S. Dist. LEXIS 141101 at *10–11 (N.D.

Cal. July 28, 2021) (“[t]o the extent Defendant argues that such allegations are too ‘tentative’ to

establish standing… the Court is not persuaded” because “[t]hese allegations track those found in

Davidson, almost exactly”).4

         Moreover, to the extent more is required from Plaintiffs to have standing, the argument

treads into an injury that is “capable of repetition, yet evading review.” Roe v. Wade, 410 U.S.

113, 125 (1973). In the class action context, the Supreme Court has recognized that “some claims

are so inherently transitory” that they could escape review on the basis of standing for injunctive

relief. In those circumstances, the Court held that the “relation back” doctrine is “properly

invoked” to confer standing. Cnty. of Riverside v. McLaughlin, 500 U.S. 44, 52 (1991). In

Riverside, the Court addressed a plaintiff’s claim seeking injunctive relief on behalf of himself

and “all others similarly situated.” Id. at 48. When plaintiff filed the complaint, he was

incarcerated and had not received a probable cause determination. Id. He requested injunctive

and declaratory relief that required the County to provide a probable cause determination. Id.

While the case was pending, plaintiff received a probable cause determination and was released.

Id. The County moved to dismiss the complaint, asserting that plaintiff lacked standing to bring

the suit because he had failed to show, as required by Los Angeles v. Lyons, 461 U.S. 95 (1983),

that he would again be subject to the allegedly unconstitutional conduct—i.e., a warrantless

detention without a probable cause determination. Id. The defendant raised the argument again

with the Court and the Court rejected it, holding that plaintiff had standing to pursue injunctive

relief because the claim was “inherently transitory.” Id. at 51–52.

         The same is true here. Just because the natural march of time has allowed Plaintiffs’

children to grow older than two does not mean that standing should be denied. Indeed, the

passage of time and unknowing future of childbearing plans renders these claims “inherently

4
 Defendant relies on Lanovaz v. Twinnings N. Am., Inc., 726 F. App’x 590 (9th Cir. 2018). ECF
72 at 9. But Lanovaz is inapplicable because it involved a plaintiff who testified under oath that
he would not purchase the product again. There is no such testimony here.
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transitory.” Plaintiffs’ claims for injunctive relief sufficiently relate back to the injuries they

sustained when purchasing Gerber’s unlawfully and misleadingly labeled Products, and therefore

Plaintiffs have standing to pursue injunctive relief.
                   iii. Gerber’s Implied Nutrient Content Claims Are Unlawful.
        Gerber next argues that certain claims are not nutrient content claims because the Court

previously held that some “‘made with’ statements are not nutrient claims’ because they are

‘intended to highlight an ingredient ‘perceived to add value to the product.’” ECF 72 at 10–11.

Thus, Gerber posits, the Court should dismiss other products with claims such as “1/4 cup of

farm-grown veggies,” “9 grams of whole grains per serving,” “Gerber Natural for Toddlers

brings the goodness of naturally nutritious fruits selected and made with strict quality standards

just for toddlers,” “Grow Strong,” and “Wonderfoods awaken baby’s love for nutritious foods.”

Id. at 11. Gerber essentially seeks a full reconsideration of this Court’s prior holding that the

unlawful claims can proceed. See ECF 25 at 2–3 (rejecting argument that “the following phrases

are not nutrient content claims: ‘Grow Strong,’ ‘Wonderfoods awaken toddler’s love for

nutritious foods,’ and ‘Gerber Natural for Toddlers brings the goodness of naturally nutritious

fruits selected and made with strict quality standards just for toddlers.”). As this Court explained:

“The statements above are clearly implied nutrient content claims. Gerber makes these

statements alongside explicit claims about the nutrients in their products. See, e.g., ECF 1 at 49

(depicting pouch that says ‘Grow Strong’ alongside the statement ‘2 grams of Protein’). And the

statements suggest that Gerber’s products are useful in maintaining healthy dietary practices—

they are not intended to provide ‘general dietary guidance,’ like the statement ‘eat lots of fruits

and vegetables for a healthy diet.’ 59 Fed. Reg. at 24235.” ECF 25 at 3.

        Gerber argues that “[c]laims referencing quantities of ingredients (such as fruits,

vegetables, wholegrains, and superfoods) are not nutrient content claims because they do not

make any express or implied representations about nutrients, as opposed to ingredients.” ECF 72

at 12. But this ignores the FDA’s definition of a nutrient content claim, which includes any claim

that “[d]escribes the food or an ingredient therein in a manner that suggests that a nutrient is

absent or present in a certain amount (e.g., ‘high in oat bran’).” 21 C.F.R. § 101.13(b)(2)(i).

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Plaintiffs have specifically alleged that Gerber makes claims like “1 ½ servings of fruit” or “2

servings of superfoods” which “suggests that nutrients like fiber and vitamins are present in a

certain amount.” SAC ¶ 40. And the “9g Whole Grains” claim suggests fiber is present in a

certain amount in the same manner “high in oat bran” does. See Ang v. Bimbo Bakeries USA,

Inc., No. 13-cv-01196-WHO, 2013 U.S. Dist. LEXIS 138897, at *20 (N.D. Cal. Sep. 25, 2013)

(rejecting argument that whole grains claims are not nutrient content claims); see also Sprout,

106 F.4th at 846 (“The agency was clearly concerned that such labeling could lead consumers to

believe that a product was good for babies when the agency had no basis for such conclusions.”).

Plaintiffs have also alleged that “‘superfood’ ‘is an industry term to denote nutrient-dense foods,

synonymous with ‘healthy’ and ‘nutritious.’” SAC ¶ 40. The superfood claims appear on labels

alongside explicit statements about the level of nutrients (such as “20% DV of Vitamin C”)

which also meets the definition of an implied nutrient content claim. See, e.g., id., Ex. A, Product

No. 6; 21 C.F.R. § 101.13(b)(2)(ii).

       Gerber next argues that “‘10% DV of Vit C, 15% Vit E and 20% Iron to help support a

healthy IMMUNE SYSTEM,’ ‘20% DV Iron to help support healthy BRAIN

DEVELOPMENT,’ and ‘Supports toddler’s healthy growth with 15% DV of calcium and 2g

protein’” are lawful ECF 72 at 12. However, Plaintiffs do not argue that the “% DV” claims are

impermissible standing on their own, rather it is those “explicit claim[s] about a nutrient” paired

with statements that suggest that the food “may be useful in maintaining healthy dietary

practices,” that render the claim as a whole to be an implied nutrient content claim that is

prohibited on foods intended for children under two. In an attempt to justify its rehashing of prior

arguments, Gerber relies on Andrade-Heymsfield v. Danone US, Inc., No. 19-cv-589-CAB-

WVG, 2019 U.S. Dist. LEXIS 137667, at *19 (S.D. Cal. Aug. 14, 2019) wherein the court found

that “maximum calcium absorption” was a permissible structure/function claim. But this Court

has previously rejected the notion that the nutrient content claims are permissible

structure/function claims or it has any effect on the claims in this case. ECF 25 at 4, n.2. As this

Court previously held, “[t]he statements above are clearly implied nutrient content claims”

because “Gerber makes these statements alongside explicit claims about the nutrient in their
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products” . . . and “the statements suggest that Gerber’s products are useful in maintaining

healthy dietary practices.” ECF 25 at 3; see Paschoal v. Campbell Soup Co., No. 21-cv-07029-

HSG, 2022 U.S. Dist. LEXIS 168245, at *15 (N.D. Cal. Sep. 15, 2022). This Court should reject

Gerber’s attempt to view the product labels and product claims in isolation.

         Contrary to Gerber’s assertion, nothing about Andrade-Heymsfiled, supports the broad

proposition that the “FDA interprets structure/function claims, and health claims, consistently

across dietary supplements and conventional foods.” ECF 72 at 11–12. This Court already

rejected this argument. See ECF 25 at 4, n.2.5
                  iv. Plaintiffs’ UCL “Unfair” Prong and Unjust Enrichment Claims May
                      Proceed.
         Finally, Gerber argues that Plaintiffs’ UCL “‘unfair’ prong claim fails because it

‘overlaps entirely’ with Plaintiffs’ invalid fraud claims.” ECF 72 at 15. However, courts have

rejected such an interpretation of the UCL because the UCL is written in the disjunctive and “is

violated where a defendant’s act or practice violates any of the foregoing prongs.” Bazarganfard

v. Club 360 LLC, No. 2:21-cv-02272-CBM-PLA(x), 2023 U.S. Dist. LEXIS 38210, at *36 (C.D.

Cal. Jan. 26, 2023). And, contrary to Gerber’s argument, Plaintiffs’ unjust enrichment claim does

not “fail for the same reason.” ECF 72 at 15. As this Court held, “Given Howard’s surviving

claims, the motion to dismiss her unjust enrichment claim is denied as to those claims.” ECF 25

at 6; see also Sprout, 106 F.4th at 853 (“In light of our reversal on the Sherman Law claim, an

additional claim survives. We thus reverse the district court’s dismissal of the unjust enrichment

claim.”); Sanchez v. Nurture, Inc., 626 F. Supp. 3d 1107, 1120 (N.D. Cal. 2022) (where plaintiff

states unlawful UCL claim, unjust enrichment claim survives).6

III.     CONCLUSION

         Based on the foregoing, the Court should deny Gerber’s motion to dismiss.

5
  Gerber also reasserts that Plaintiffs lack standing to pursue claims against the unpurchased
products. ECF 72 at 13–14. But the Court has already rejected this argument. ECF 25 at 1–2
(“Howard has standing to assert claims based on all the products and statements in her
complaint”). Nothing has changed in the SAC that would defeat Plaintiffs’ standing now.
6
  Should this Court find the SAC insufficient, Plaintiffs request leave to amend to correct any
deficiencies. Leave “should be granted unless the Court determines that the allegation of other
facts consistent with the challenged pleading could not possibly cure the deficiency.” Schreiber
Distrib. Co. v. Serv-Well Furniture Co., 806 F.2d 1393, 1401 (9th Cir. 1986).
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     Dated: November 1, 2024
                                           GUTRIDE SAFIER LLP


                                           s/ Hayley A. Reynolds
                                           Seth A. Safier (State Bar No. 197427)
                                             seth@gutridesafier.com
                                           Marie A. McCrary (State Bar No. 262670)
                                             marie@gutridesafier.com
                                           Hayley A. Reynolds (State Bar No. 306427)
                                             hayley@gutridesafier.com
                                           100 Pine Street, Suite 1250
                                           San Francisco, CA 94111
                                           Telephone: (415) 639-9090
                                           Facsimile: (415) 449-6469

                                           Attorneys for Plaintiffs




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